 

. Case 1:19-mj-01017 DPcymp AVA Uxiled on 10/15/19 in TXSD Page 1 of 1
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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF TEXAS
BROWNSVILLE DIVISION

 

 

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UNITED STATES OF AMERICA rote itt Tey

V OCT 15 2019 CRIMINAL COMPLAINT
Duran-Duran, Maricela CASE NUMBER: B: 19-ID]") Mu

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MEXICO Bavid J. Bradley, Clerk of Court

I, the undersigned being duly sworn state the following is true and correct to the best
of my knowledge and belief. On or about 10/13/2019 in Cameron county, in the SOUTHERN
District of TEXAS defendant, an alien did,

 

knowingly, willfully and in violation of law attempted an illegal entry into the United
States and used and possessed a document prescribed by statue or regulation as evidence of
authorized stay, entry, or employment in the United States knowing it to have been
procured by fraud or was unlawfully obtained, after being previously deported, said
defendant having not obtained the consent of the Attorney General and/or the Secretary of
Homeland Security of the United States,

in violation of Title 18 United States Code, Section(s) 1546 (a) ,
in violation of Title 8 United States Code, Section(s) 1326 (a)

 

 

I further state that I am a (n) Customs and Border Protection Officer and that this
complaint is based on the following facts:

 

The defendant attempted to gain illegal entry into the United States thru the
Veterans International Bridge in Brownsville Texas. The defendant presented a
United States a Legal Permanent resident alien card bearing the name of MARIA
LOZOYA DE MELENDEZ and further claimed to be said person to a U.S. Customs and
Border Protection Officer. In Immigration secondary, Customs and Border
Protection officers determined that the defendant is not the rightful owner of
the document presented. Further, the defendant is a citizen and national of
Mexico with no documents to enter and/or reside in the United States. A query of
the defendants’ criminal records revealed that she had been previously convicted
on/or about 09/05/2014 for Entry without Inspection. The defendant was last
deported from the United States to Mexico on/or about May 26, 2018 through El
Paso, Texas.

Defendant has $25.00 U.S. Dollars and $50.00 pesos on her possession
Continued on the attached sheet and made a part hereof: — Yes X No

 

Miguel Salas CBPEO

Signature of Complainant

Sworn to before me and subscribed in my presence,

October 15, 2019 at Brownsville, Texas
Date City and State

Ronald G. Morgan, U.S. MAGISTRATE JUDGE hiv beg —

Name & Title of Judicial Officer gignaturs of Judicial Officer

 

 
